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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Zagloul E. Ayad,                                   :
                                                   : Civil Action No.: ______
                        Plaintiff,                 :
        v.                                         :
                                                   :
Midland Credit Management, Inc.; and DOES          : COMPLAINT
1-10, inclusive,                                   :
                                                   :
                        Defendants.                :
                                                   :

                For this Complaint, the Plaintiff, Zagloul E. Ayad, by undersigned counsel, states

as follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Zagloul E Ayad (“Plaintiff”), is an adult individual residing in

Cambridge, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant Midland Credit Management, Inc. (“Midland”), is a New York

business entity with an address of 8875 Aero Drive, Suite 200, San Diego, California 92123,
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operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Midland and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Midland at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Midland for collection, or

Midland was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Midland Engages in Harassment and Abusive Tactics

       12.     Within the last year, Midland contacted Plaintiff in an attempt to collect the Debt.

       13.     Midland called Plaintiff at an excessive and harassing rate, placing multiple

collection calls per week for successive weeks.

       14.     Plaintiff felt harassed, oppressed and frustrated as a result of Midland’s calls.




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   C. Plaintiff Suffered Actual Damages

       15.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       16.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                   COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       17.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       18.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       19.     The Defendants caused a phone to ring repeatedly and engaged the Plaintiff in

telephone conversations, with the intent to annoy and harass, in violation of 15 U.S.C. §

1692d(5).

       20.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       21.     The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA.

       22.     Plaintiff is entitled to damages as a result of Defendants’ violations.




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                              COUNT II
     VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                        M.G.L. c. 93A § 2, et seq.

       23.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       24.      The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

       25.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.

                                 COUNT III
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       26.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       27.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       28.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       29.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with the above referenced telephone calls.

       30.     The telephone calls made by Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial




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burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       31.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       32.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendant.

       33.     All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.

                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                       c. 93A § 9(3);

                   5. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;

                   6. Punitive damages; and

                   7. Such other and further relief as may be just and proper.
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                      TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: October 21, 2019

                                    Respectfully submitted,

                                    By       /s/ Sergei Lemberg

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